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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DUSTIN PATINO, individually and on behalf
of all others similarly situated,
                    Plaintiff,

v.
                                                       Civil Action No. 3:16-cv-1104
LIGHTNING OILFIELD SERVICES, INC.
and MARK S. WADDELL,
             Defendants.



                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiffs and Defendants stipulate and agree that since Plaintiffs no longer desire to

 pursue their claims against Defendants, any and all allegations, claims, and defenses asserted by

 and between them in the above-styled and numbered action should be dismissed with prejudice

 pursuant to FED. R. CIV. P. 41(a)(1)(ii).

         WHEREFORE, Plaintiffs and Defendants respectfully request the Court enter an Order

 dismissing with prejudice any and all claims asserted by and between Plaintiffs and Defendants

 in this action.




 /s/ J. Forester                                   /s/ R.S. Ghio
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was electronically filed. Notice of
this filing will be sent to counsel of record for all parties by operation of the Court’s Electronic
Filing System.

                                                     /s/Jack Siegel________________          ____
                                                     Jack Siegel
